        United States Court of Appeals
             for the Fifth Circuit
                            ___________

                             No. 23-50224
                            ___________

Leila Green Little; Jeanne Puryear; Kathy Kennedy;
Rebecca Jones; Richard Day; Cynthia Waring; Diane
Moster,

                                                    Plaintiffs—Appellees,

                                 versus

Llano County; Ron Cunningham, in his official capacity as Llano
County Judge; Jerry Don Moss, in his official capacity as Llano County
Commissioner; Peter Jones, in his official capacity as Llano County
Commissioner; Mike Sandoval, in his official capacity as Llano County
Commissioner; Linda Raschke, in her official capacity as Llano County
Commissioner; Amber Milum, in her official capacity as Llano County
Library System Director; Bonnie Wallace, in her official capacity as
Llano County Library Board Member; Rochelle Wells, in her official
capacity as Llano County Library Board Member; Rhoda Schneider, in
her official capacity as Llano County Library Board Member; Gay Baskin,
in her official capacity as Llano County Library Board Member,

                                      Defendants—Appellants.
              ______________________________

              Appeal from the United States District Court
                   for the Western District of Texas
                        USDC No. 1:22-CV-424
              ______________________________
                           No. 23-50224




                    UNPUBLISHED ORDER

Before Haynes, Engelhardt, and Oldham, Circuit Judges.
Per Curiam:
      IT IS ORDERED that Appellants’ Opposed Motion to expedite
appeal is GRANTED. The appeal is EXPEDITED to the next available
Oral Argument Calendar.
      IT IS FURTHER ORDERED that Appellants’ Opposed Motion
to stay the preliminary injunction pending appeal is CARRIED WITH
THE CASE.




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                 United States Court of Appeals
                              FIFTH CIRCUIT
                           OFFICE OF THE CLERK
LYLE W. CAYCE                                             TEL. 504-310-7700
CLERK                                                  600 S. MAESTRI PLACE,
                                                               Suite 115
                                                      NEW ORLEANS, LA 70130

                           May 05, 2023
MEMORANDUM TO COUNSEL OR PARTIES LISTED BELOW:
      No. 23-50224   Little v. Llano County
                     USDC No. 1:22-CV-424

Enclosed is an order entered in this case.


                               Sincerely,
                               LYLE W. CAYCE, Clerk



                               By: _________________________
                               Mary Frances Yeager, Deputy Clerk
                               504-310-7686
Ms. Marissa Benavides
Mr. Max Bernstein
Mr. Ryan A. Botkin
Ms. Maria Amelia Calaf
Ms. Katherine Patrice Chiarello
Mr. Philip Devlin
Ms. Ellen Valentik Leonida
Mr. Jonathan F. Mitchell
P.S. A new expedited briefing schedule will issue under separate
cover.
